Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 1 of 10 PageID #: 1



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

  BARBARA F. SANDERS, INDIVIDUALLY,                   CIVIL ACTION NO.:
  MELISSA DAVIS, INDIVIDUALLY,
  GLENN A. FORD, INDIVIDUALLY,
  GEORGE FORD, JR., INDIVIDUALLY,                     SECTION:
  MARTIN FORD, INDIVIDUALLY, AND
  LELA MAE FORD, INDIVIDUALLY, AND
  ON BEHALF OF THEIR DECEASED                         JUDGE:
  SISTER, MARGARET FORD
                         PLAINTIFFS
                                                      MAGISTRATE:
  VERSUS

  NEXION HEALTH AT MINDEN, INC.
  D/B/A MEADOWVIEW HEALTH AND
  REHAB CENTER, TIG INSURANCE
  COMPANY, AND RIVERSTONE GROUP,
  LLC
                        DEFENDANTS

                                  NOTICE OF REMOVAL

       RiverStone Group, LLC (“RiverStone”) and TIG Insurance Company, successor by merger

to American Safety Indemnity Company (“TIG”), defendants in the above captioned civil action,

without waiving any of its defenses, hereby remove the civil action filed in the 26th Judicial

District Court for the Parish of Webster, State of Louisiana, captioned Barbara F. Sanders,

Individually, Melissa Davis, Individually, Glenn A. Ford, Individually, George Ford, Jr.,

Individually, Martin Ford, Individually, and Lela Mae Ford, Individually, and on behalf of their

deceased sister, Margaret Ford v. Nexion Health at Minden, Inc. d/b/a Meadowview Health and

Rehab Center, American Safety Indemnity Company, and Riverstone Group, LLC, Civil Action

No. 76695, to this Honorable Court. In support of removal, RiverStone and TIG submit, as

follows:




                                               1
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 2 of 10 PageID #: 2



                                                  1.

       On or about December 22, 2017, plaintiffs, Barbara F. Sanders, Melissa Davis, Glenn A.

Ford, George Ford, Jr., Martin Ford, and Lela Mae Ford, on behalf of their deceased sister,

Margaret Ford, filed a Petition for Damages (“Petition”) in the 26th Judicial District Court for the

Parish of Wester, State of Louisiana. Plaintiffs named as defendants Nexion Health at Minden,

Inc., d/b/a Meadowview Health and Rehab Center (“Nexion”); TIG; and RiverStone.

                                     REMOVAL IS TIMELY

                                                  2.

       This Notice of Removal is timely “filed within 30 days after the receipt by the defendant,

through service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon

which such action or proceeding is based….” 28 U.S.C. § 1446(b); Murphy Bros. v. Michetti Pipe

Stringing, 526 U.S. 344, 347-8, 119 S.Ct. 1322, 1325, 143 L.Ed. 2d 448 (1999) (“Accordingly, we

hold that a named defendant’s time to remove is triggered by simultaneous service of the summons

and complaint, or receipt of the complaint, ‘through service or otherwise,’ after and apart from

service of the summons, but not by mere receipt of the complaint unattended by any formal

service.”). In a multi-defendant action, a later-served defendant has a right of removal separate

from that of an earlier-served defendant. 28 U.S.C. § 1446(b)(2). The statute explicitly allows

each defendant 30 days after receipt or service of an initial pleading or summons to file a notice of

a removal. 28 U.S.C. § 1446(b)(2)(B). Service of the Petition was made upon RiverStone by

Certified Mail on February 02, 2018. See Exhibit 1. This Notice of Removal is timely because it

was filed within 30 days of RiverStone being served with the Petition.




                                                  2
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 3 of 10 PageID #: 3



                                       VENUE IS PROPER

                                                  3.

       Venue is proper in this judicial district and division under 28 U.S.C. § 1441(a). This civil

action is being removed from the 26th Judicial District Court for the Parish of Webster, State of

Louisiana. For purposes of 28 U.S.C. § 1446(a), the United States District Court for the Western

District of Louisiana, Shreveport Division, “is the district court of the United States for the district

and division within which such action is pending.” Attached hereto as Exhibit 2 are pleadings

filed into the record of the 26th Judicial District Court for the Parish of Webster, State of Louisiana,

in accordance with 28 U.S.C. § 1446(a).

                       ALL DEFENDANTS’ CONSENT TO REMOVAL

                                                  4.

       Under the “rule of unanimity,” all defendants who have been properly joined and served

must join in or consent to removal. 28 U.S.C. § 1446(b)(2)(A). If defendants are served at

different times, when a later-served defendant files a notice of removal, “any earlier-served

defendant may consent to the removal even though that earlier-served defendant did not previously

initiate or consent to the removal.” Id. § 1446(b)(2)(C). All known properly-joined and served

defendants have consented to the removal of this civil action to federal court as evidenced by the

Consent to Removal of Nexion attached hereto. See Exhibit 3.

  REMOVAL BASED UPON DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)

                                                  5.

       This civil action is properly removed based upon diversity jurisdiction under 28 U.S.C. §§

1332(a) and 1441. According to 28 U.S.C. § 1332(a), this Honorable Court has “original

jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of




                                                   3
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 4 of 10 PageID #: 4



$75,000, exclusive of interest and costs, and is between citizens of different states.” The amount

in controversy for the claims presented by plaintiffs exceeds $75,000.00, exclusive of interest and

costs, and complete diversity exists between plaintiffs and defendants.

        A.          COMPLETE DIVERSITY EXISTS BETWEEN PLAINTIFFS AND
                    DEFENDANTS

                                                      6.

        In the Petition, plaintiffs allege their citizenship, as follows:

             i.     Barbara F. Sanders is a resident of the State of Texas;
             ii.    Melissa Davis is a resident of the State of Texas;
             iii.   Glenn A. Ford is a resident of the State of Tennessee;
             iv.    George Ford, Jr. is a resident of the State of Louisiana;
             v.     Martin Ford is a resident of the State of Louisiana; and
             vi.    Lela Mae Ford is a resident of the State of Louisiana.

See Petition at Preamble. Accordingly, for purposes of removal under 28 U.S.C. §§ 1332(a) and

1441, plaintiffs are citizens of Texas, Tennessee, and Louisiana for the purpose of determining

diversity of citizenship in this litigation.

                                                      7.

        The Petition is silent as to the citizenship of Defendants, Nexion; TIG; and RiverStone, for

purposes of 28 U.S.C. § 1332(c)(1), claiming only that each are “foreign” companies doing

business in the State of Louisiana. Petition at ¶ 1.

                                                      8.

        While the Petition is silent as to the citizenship of Nexion, Nexion is a corporation

incorporated under the laws of the State of Delaware, with its principal place of business in the

State of Maryland. Thus, in accordance with 28 U.S.C. § 1332(c)(1), and for purposes of removal

under 28 U.S.C. §§ 1332(a) and 1441, Nexion is a citizen of the State of Delaware, where it is




                                                      4
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 5 of 10 PageID #: 5



incorporated, and a citizen of the State of Maryland, where it maintains its principal place of

business, for the purpose of determining diversity of citizenship in this litigation.

                                                  9.

        While the Petition is silent as to the citizenship of TIG, TIG is an insurance company

incorporated under the laws of California with its principal place of business in New Hampshire.

Thus, in accordance with 28 U.S.C. § 1332(c)(1), and for purposes of removal under 28 U.S.C. §§

1332(a) and 1441, TIG is a citizen of the State of California, where it is incorporated as an insurer,

and a citizen of the State of New Hampshire, where it maintains its principal place of business, for

the purpose of determining diversity of citizenship in this litigation.

                                                 10.

        While the Petition is silent as to the citizenship of RiverStone, Riverstone is a corporation

incorporated under the laws of the State of Delaware, with its principal place of business in the

State of New Hampshire. Thus, in accordance with 28 U.S.C. § 1332(c)(1), and for purposes of

removal under 28 U.S.C. §§ 1332(a) and 1441, RiverStone is a citizen of the State of Delaware,

where it is incorporated, and a citizen of the State of New Hampshire, where it maintains its

principal place of business, for purposes of determining diversity of citizenship in this litigation.

                                                 11.

        Accordingly, complete diversity exists between plaintiffs, Barbara F. Sanders (Texas);

Melissa Davis (Texas); Glenn A. Ford (Tennessee); George Ford, Jr. (Louisiana); Martin Ford

(Louisiana); and Lela Mae Ford (Louisiana), and Defendants, Nexion (Delaware and Maryland);

TIG (California and New Hampshire); and RiverStone (Delaware and New Hampshire).

Therefore, this action is properly removed based upon diversity under 28 U.S.C. §§ 1332(a) and

1441.




                                                  5
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 6 of 10 PageID #: 6




         B.     THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00, EXCLUSIVE
                OF INTEREST AND COSTS

                                                  12.

         In accordance with 28 U.S.C. § 1332(a), the amount in controversy required for removal

based upon complete diversity of citizenship must exceed $75,000.00, exclusive of interest and

costs.

                                                  13.

         Although the Petition is silent as to the amount in controversy, the lack of specific monetary

damage alleged in the Petition does not end the inquiry into the amount in controversy—if a

plaintiff has alleged an indeterminate amount of damages, the Fifth Circuit requires that a

removing defendant prove by a preponderance of the evidence that the amount in controversy

exceeds $75,000.00. Simon v. Wal-Mart Stores, 193 F.3d 848, 850 (5th Cir. 1999); Allen v. R&H

Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995); see also DeAguilar v. Boeing Co., 47 F.3d

1404, 1412 (5th Cir. 1995). A defendant may either show that it is facially apparent that the

plaintiff’s claims exceed the jurisdictional amount or by setting forth the facts in dispute for a

finding that the jurisdictional amount is satisfied. Simon, 193 F.3d at 850; Allen, 63 F.3d at 1335.

                                                  14.

         Removal is permitted where the facts in dispute support a finding that the claims presented

exceed the jurisdictional amount. See Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir.

1995). As held by the United States Supreme Court, while a defendant’s notice of removal must

include “a plausible allegation that the amount in controversy exceeds the jurisdictional threshold,”

it does not need to incorporate evidence supporting that allegation. Dart Cherokee Basin

Operating Co. v. Owens, 135 S.Ct. 547, 554 (2014). RiverStone and TIG contest that any amount




                                                   6
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 7 of 10 PageID #: 7



is owed to plaintiffs and have numerous defenses to the claims presented in this lawsuit. For

purposes of removal, however, this Honorable Court must look to the amount being claimed by

plaintiffs without reference to any potential defenses that may exist as to those claims. See St.

Paul Mercury Ind. Co. v. Red Cab Co., 303 U.S. 283, 292, 58 S. Ct. 586, 592, 82 L. Ed. 845 (1938)

(“for the fact that it appears from the face of the complaint that a defendant has a valid defense, if

asserted, to all or a portion of the claim, or the circumstance that the rulings of the district court

after removal reduce the amount recoverable below the jurisdiction requirement, will not justify

remand.”); see also Marcel v. Pool Co., 5 F.3d 81, 84 (5th Cir. 1993).

                                                      15.

       The United States Supreme Court has held that where, as here, “two or more plaintiffs unite

to enforce a single title or right in which they have a common and undivided interest,” the damages

sought are aggregated to determine the jurisdictional amount. Allen, 63 F.3d at 1330 (citing Snyder

v. Harris, 394 U.S. 332, 335 (1969)). In Louisiana, a survival action is a single, indivisible action

among the beneficiaries of a decedent, arising from the cause of action belonging to the deceased

before his or her death. La. Civ. Code art. 2315.1. Because plaintiffs’ right to recover damages

under their survival action is in essence a single right transmitted from their decedent, there is but

one right of recovery and one amount to be recovered—not six separate rights and recoveries—

even though that recovery may be divided among the plaintiffs. Aggregation of damages under

plaintiffs’ survival action, therefore, is appropriate. See Kelly v. Hartford Accident and Indemnity

Co., 294 F.2d 400, 409 (5th Cir. 1961) (aggregating damages to reach jurisdictional amount “since

the five plaintiffs seek to enforce a single right of action for the wrongful death of their sister”),

cert. denied, 368 U.S. 989, 82 S. Ct. 605 (1962). Supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367(a) exists over plaintiffs’ wrongful death actions brought under Louisiana Civil Code article




                                                  7
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 8 of 10 PageID #: 8



2315.2. See Morrison v. New Orleans Pub. Serv., Inc., 415 F.2d 419, 424 (5th Cir. 1969) (under

Louisiana law, beneficiaries must join in survival and wrongful death actions).

                                                16.

       While the Petition is silent regarding the specific amount in controversy, it is apparent from

the face of the Petition, as well as the plausible allegations that the amount in controversy easily

exceeds $75,000, exclusive of interest and costs, as plaintiffs contend they are entitled to recover

damages for a multitude of injuries as a result of their claims that Nexion breached the standard of

care in the treatment of their deceased sister, Margret Ford, while she was a resident at Nexion’s

nursing home facility. Plaintiffs’ legal theories are aligned and invisible in that they claim that

Nexion’s negligence resulted in unnecessary pain and suffering, prolonged hospitalization, mental

anguish, anxiety, emotional distress, additional medical expenses, and the untimely death of

Margret Ford. Petition at ¶ 10. The Petition seeks damages for Ms. Ford’s alleged wrongful death,

as well as damages for loss of consortium, and negligent infliction of emotional distress for Ms.

Ford’s six surviving siblings. Id. at ¶ 17, 18, and 19. The Petition further seeks damages for

unspecified medical and funeral expenses. Id. at ¶ 20. These allegations establish that the damages

plaintiffs seek exceed $75,000.00. See, Jones v. Vick, 2004-0758 (La. App. 4 Cir. 12/15/04); 891

So.2d 737 ($50,000.00 in wrongful death damages awarded to each of nine siblings of man who

died of cardiac arrest claimed to be associated with physician’s administration of antipsychotic

medication); Williams v. O'Neill, 99-2575 (La.App. 4 Cir. 03/13/02), 813 So.2d 548 ($150,000.00

awarded to husband of woman who witnessed effects of physician’s alleged improper implantation

of catheter guide wire during coronary bypass surgery).




                                                 8
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 9 of 10 PageID #: 9



                                                17.

       Considering the above, complete diversity exists between plaintiffs and defendants. The

amount in controversy for the claims presented by plaintiffs exceeds $75,000.00, exclusive of

interest and costs. This Honorable Court has jurisdiction over this civil action in accordance with

28 U.S.C. §§ 1332(a) and 1441(a).

                                                18.

       After the filing of this Notice of Removal, a copy of this Notice will be filed with the Clerk

of Court for the 26th Judicial District Court for the Parish of Webster, State of Louisiana, as

provided by law.

       WHEREFORE, defendants, RiverStone Group, LLC and TIG Insurance Company,

successor by merger to American Safety Indemnity Company, with the consent of Nexion Health

at Minden, Inc., d/b/a Meadowview Health and Rehab Center, hereby remove this civil action to

this Honorable Court and request that jurisdiction be assumed over all the claims made in this civil

action, and that this civil action be maintained in the United States District Court for the Western

District of Louisiana, Shreveport Division.




                                                 9
Case 5:18-cv-00263-EEF-MLH Document 1 Filed 03/02/18 Page 10 of 10 PageID #: 10



                                               Respectfully submitted,

                                               LARZELERE PICOU WELLS
                                                      SIMPSON LONERO, LLC
                                               Suite 1100 - Two Lakeway Center
                                               3850 N. Causeway Boulevard
                                               Metairie, LA 70002
                                               Telephone:    (504) 834-6500
                                               Fax:          (504) 834-6565

                                       BY:      /s/ Thomas H. Peyton
                                               JAY M. LONERO, T.A. (No. 20642)
                                                    jlonero@lpwsl.com
                                               THOMAS H. PEYTON (No. 32635)
                                                    tpeyton@lpwsl.com

                                               ATTORNEYS FOR RIVERSTONE GROUP,
                                               LLC AND TIG INSURANCE COMPANY,
                                               SUCCESSOR BY MERGER TO AMERICAN
                                               SAFETY INDEMNITY COMPANY


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of March 2018, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

 all counsel registered for electronic service. I further certify that I have served a copy of the

 foregoing pleading on all parties to this proceeding not registered for electronic service, by e-

 mailing, faxing, and/or mailing the same by United States mail, properly addressed and first class

 postage prepaid.



                                                 /s/   Thomas H. Peyton




                                                 10
